
82 So. 3d 213 (2012)
Christopher RICE, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D12-0105.
District Court of Appeal of Florida, First District.
March 22, 2012.
Jeffrey A. Siegmeister, Lake City, for Petitioner.
Pamela Jo Bondi, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The amended petition seeking a belated appeal of the judgment and sentence rendered on December 5, 2011, in Columbia County Circuit Court case number 10-169-CF, is granted. Upon issuance of mandate, a copy of this opinion shall be furnished to the clerk of the lower tribunal for treatment as a notice of appeal. If petitioner qualifies for the appointment of counsel at public expense, the lower tribunal is directed to appoint counsel to represent *214 him in the belated appeal authorized by this opinion.
PADOVANO, LEWIS, and WETHERELL, JJ., concur.
